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     Attorney for Plaintiff Raul Uriarte-Limon
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 8
 9                         UNITED STATES DISTRICT COURT

10                       SOUTHERN DISTRICT OF CALIFORNIA

11
12   RAUL URIARTE-LIMON,                         Case No.: 3:24-cv-00959-W-BLM
13
                  Plaintiff,                     NOTICE OF VOLUNTARY
14                                               DISMISSAL PURSUANT TO FED.
       vs.                                       RULE CIV. PROC. 41 (a)(1)(A)(i)
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16
     BEYER SMOKE SHOP INC;
17   MCCLURKEN INC; and DOES 1-10,
18                Defendants.
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        NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. RULE CIV. PROC. 41 (A)(1)(A)(I) - 1
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 1                       NOTICE OF VOLUNTARY DISMISSAL
 2
 3          Pursuant to Federal Rule of Civil Procedure 41 (a)(1)(A)(i), Plaintiff Raul
 4   Uriarte-Limon voluntarily dismisses this action with prejudice as to all Defendants;
 5   each party to bear his/her/its own attorneys’ fees and costs. The case has been
 6   settled.
 7
 8   Respectfully submitted,
 9
10   DATED: July 2, 2024                             VALENTI LAW APC
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12                                             By: /s/ Matt Valenti
13                                                 Matt Valenti, Esq.
                                                   Attorney for Plaintiff
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         NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. RULE CIV. PROC. 41 (A)(1)(A)(I) - 2
